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16
                         IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                              No. CR-18-00422-PHX-SMB
20                         Plaintiff,                  UNITED STATES’ MOTION FOR
                                                      LEAVE TO FILE EXCESS PAGES IN
21            v.                                        SUPPORT OF ITS MOTION IN
                                                          LIMINE TO DETERMINE
22                                                     ADMISSIBILITY OF EVIDENCE
     Michael Lacey, et al.,
23
                           Defendants.
24
25
26          The United States of America, by and through counsel undersigned, hereby requests
27   permission to file excess pages (not to exceed 26 pages) in support of its Motion in Limine
28   to Determine Admissibility of Evidence.
      Case 2:18-cr-00422-DJH Document 915 Filed 04/17/20 Page 2 of 2




 1          Although Local Rule of Civil Procedure 7.2(e), as incorporated by Local Rule of
 2   Criminal Procedure 47.1, provides that motions ordinarily should not exceed 17 pages in
 3   length, the United States respectfully requests permission to file excess pages here. This
 4   motion could be reorganized and divided into five short motions (one for each category of
 5   evidence the government is seeking a pretrial ruling on admissibility), but to promote
 6   efficiency and reduce the number of overall pages submitted to the Court, it seems more
 7   efficient to file it as a single pleading. (If five separate briefs were submitted, each could
 8   be up to 17 pages long under Local Rule 7.2(e).)
 9          Respectfully submitted this 17th day of April, 2020.
10
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                                                s/Reginald E. Jones
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                                 CERTIFICATE OF SERVICE
23
            I hereby certify that on this same date, I electronically transmitted the attached
24   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
25   as counsel of record.
26
     s/Marjorie Dieckman
27   Marjorie Dieckman
     U.S. Attorney’s Office
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